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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )         No. 6:23-CR-22-REW-HAI-3
                                                  )
 v.                                               )
                                                  )                    ORDER
 DANIEL L. DUNN,                                  )
                                                  )
       Defendant.                                 )
                                                  )
                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 92 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Daniel L. Dunn’s guilty plea and adjudge

him guilty of a lesser included offense of Count One of the Indictment (DE 1). See DE 93

(Recommendation); see also DE 91 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 93 at 3. The established three-day objection deadline has passed, and no party

has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate judge’s report and recommendation he has forfeited his right to raise this issue

on appeal’”); United States v. Olano, 113 S. Ct. 1770, 1777 (1993) (distinguishing waiver and

forfeiture); FED. R. CRIM. P. 59(b)(2)–(3) (limiting de novo review duty to “any objection” filed);



                                                 1
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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 93, ACCEPTS Defendant’s guilty plea, and ADJUDGES

             Defendant guilty of a lesser included (no aggravated quantity as to either identified

             controlled substance) offense of Count One of the Indictment; and

        2.   The Court will issue a separate sentencing order. 1

        This the 2nd of April, 2024.




1
 Judge Ingram remanded Dunn to custody post-plea, which preserved his status following arraignment. See DE 92;
DE 15. As such, Dunn will remain in custody pending sentencing, subject to intervening orders.


                                                      2
